

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-19,820-06






JERRY CARL SCOTT, Relator



v.



DALLAS COUNTY DISTRICT CLERK, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM DALLAS COUNTY






		Per curiam.


O R D E R




	This is an original application for a writ of mandamus.  Relator contends he filed an
application for writ of habeas corpus in cause number W87-94585-IRH on November 1, 2005,
but more than thirty-five days have elapsed and the application has not been forwarded to the
Court of Criminal Appeals.

	It is this Court's opinion that additional information is required before a decision can be
reached on the motion for leave to file the instant action.  The respondent, District Clerk of
Dallas County, is ordered to file a response with this Court within thirty days by submitting the
record on such habeas corpus application or a copy of a timely-entered order designating issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.Cr.App. 1992); Martin v.
Hamlin, 25 S.W.3rd 718 (Tex.Cr.App. 2000), or by stating the nature of any applications filed by
Relator such that they are not filed pursuant to Article 11.07, §&nbsp;3, TEX.CODE CRIM.PROC., or
that no applications by Relator have been filed.  This application for writ of mandamus is held in
abeyance pending compliance with this order.

	IT IS SO ORDERED this the 1st  day of March , 2006.


DO NOT PUBLISH	


